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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


ALEXANDER KESTENBAUM and
STUDENTS AGAINST ANTISEMITISM,
INC.,
                                       Case No. 1:24-cv-10092-RGS
          Plaintiffs,

v.

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

          Defendant.



             MEMORANDUM OF LAW IN SUPPORT OF
      DEFENDANT’S MOTION TO DISMISS AND MOTION TO STRIKE
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                                        INTRODUCTION

       Harvard condemns antisemitism, as it does all forms of discrimination based on race,

national origin, or shared ancestry. Conduct that targets Harvard’s Jewish students, faculty, or

staff for discrimination or harassment is not just unacceptable but antithetical to Harvard’s

foundational values. Tackling a problem as invidious and enduring as antisemitism requires a

deliberate, multidimensional effort. Harvard has marshaled the expertise and resources required

to undertake this effort and is committed to doing so. In response to the rise in reports of

antisemitism following Hamas’ October 7, 2023, terrorist attack and the ensuing war in Gaza,

Harvard has taken concrete steps, and is actively assessing what else it can do, to protect its

Jewish students, vindicate their right to pursue their education free from harassment and

discrimination, and make clear that antisemitism has no place at Harvard. Harvard continues to

engage with Jewish community members, enhance mechanisms for reporting discrimination,

enforce policies to prevent and address antisemitic harassment, and embark on a sustained,

comprehensive approach to fighting the scourge of antisemitism. Harvard’s response necessarily

is a campaign in progress, as antisemitism cannot be eliminated with a presidential proclamation

or a court order.

       This lawsuit is neither an effective nor legally appropriate vehicle to address antisemitism

at Harvard. It is brought by Alexander Kestenbaum, a graduate student at Harvard Divinity

School, AC ¶ 15, and Students Against Antisemitism, Inc. (“SAA”), incorporated by plaintiffs’

counsel shortly before filing this suit, suing on behalf of five unnamed Harvard graduate students

in law and public health, id. ¶¶ 13, 16-20. 1 The 107-page Amended Complaint invites the Court

to superintend through a Court-appointed monitor the “termination” of “deans, administrators,



       1
           Citations to “AC” refer to Plaintiffs’ Amended Complaint. Dkt. 32.
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professors, and other employees,” the “suspension or expulsion” of students, and the return of

donations purportedly conditioned on the “hiring or promotion of professors who espouse

antisemitism or the inclusion of antisemitic coursework,” and other relief. Id. Prayer for Relief.

While demanding this Court to, in effect, vet assigned class reading, Plaintiffs fail to plead that

Harvard has fallen short of its legal obligations.

       The Amended Complaint instead strings together discrete incidents—many of which

Plaintiffs did not experience themselves—into an attenuated theory of institutional liability: it

tries, for example, to link offensive, antisemitic remarks by a Harvard official more than a

century ago to the University’s alleged failure to respond to events that took place just days or

weeks before the Amended Complaint was filed. In an institution dedicated to principles of

academic freedom and speech, grappling with the limits of dissent and protest across a dozen

undergraduate and graduate schools enrolling more than 20,000 students takes serious work,

thoughtful consideration, and time. Without minimizing at all the importance of the need to

address energetically antisemitism at the University, Plaintiffs’ dissatisfaction with the strategy

and speed of Harvard’s essential work does not state a legally cognizable claim. Consequently,

the Amended Complaint should be dismissed.

       First, Plaintiffs’ claims are premature and must be dismissed in their entirety because

they are contingent on establishing the deficiency of Harvard’s ongoing response to

antisemitism. Plaintiffs speculate that the actions Harvard is taking will prove inadequate, but

that is not a proper basis for this Court’s jurisdiction. Their claims are not ripe.

       Second, threshold issues defeat Kestenbaum’s claims for injunctive relief and SAA’s

claims in their entirety. Kestenbaum’s request for injunctive relief must be dismissed because

allegations of past harm do not plead an ongoing or certainly impending future injury traceable



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to Harvard, and do not establish that the sweeping relief he requests is likely to redress his

claimed injuries. SAA’s claims fail for the same reasons and also must be dismissed because, as

an associational plaintiff, it lacks standing to pursue fact-intensive, individualized claims on

behalf of its members.

       Third, Plaintiffs fail to state a claim under Title VI. They do not plausibly allege a

discriminatory double standard, and Harvard’s efforts to address antisemitic harassment while

also safeguarding free expression and open academic discourse negate any allegations that the

University has acted with deliberate indifference. That alone defeats Plaintiffs’ claim under

Davis v. Monroe County Board of Education, 526 U.S. 629 (1999). Nor does the conduct

Plaintiffs allege amount to “severe and pervasive” harassment actionable under the statute.

       Fourth, even if the Court determines Plaintiffs have standing to seek injunctive relief,

Plaintiffs seek an impermissible “obey the law” injunction that the Court should strike from the

Amended Complaint. If the Court permits any aspect of the claim for injunctive relief to go

forward, it should strike the demand that Harvard take particular disciplinary measures, as such

relief is foreclosed by both binding precedent and principles of deference to university decision-

making. And Plaintiffs’ requested punitive damages are categorically unavailable.

       Finally, Plaintiffs’ contract claims must be dismissed because Plaintiffs do not identify

any contractual commitment that Harvard has breached.

       Harvard’s response to the unprecedented and unanticipated rise in campus tensions

following the October 7 attack continues to evolve. From the beginning, Harvard has sought to

combat antisemitism; prioritize the safety and wellbeing of its students, faculty, and staff; and

make its community stronger and more secure. The concrete steps the University has taken to

address reports of antisemitism, its work to clarify the rights and responsibilities of students



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protesting on campus, and the sustained initiatives it has launched all demonstrate that Harvard

remains committed to tackling antisemitism.

                                        BACKGROUND

       Harvard strives to ensure that every member of the University community is safe, valued,

and free to speak openly, whether in class or in the public square. See AC ¶¶ 39-43, 47. No

Harvard community member should experience discrimination or harassment, much less be

subjected to physical force or violence on campus. Community members must also be

empowered to speak out, advocate, and demonstrate on matters of public concern. Harvard has

therefore adopted policies aimed to prevent “discrimination, harassment, and bullying ‘by any

member of the Harvard community,’” id. ¶ 39, and to affirm the rights of community members to

speak on important issues through appropriate and respectful means, see id. ¶ 47. Those policies

include the Non-Discrimination and Anti-Bullying Policy (“Non-Discrimination Policy”), which

explicitly addresses, among other issues, harassment on the basis of religion and national origin,

the University-wide Statement on Rights and Responsibilities, and student handbooks and free

speech and protest guidelines issued by Harvard’s individual schools. See id. ¶¶ 38-53.

       Harvard’s policies formalize its commitment to ensuring student safety and well-being

while preserving the University’s discretion to address improper conduct through appropriate,

case-specific measures. The Non-Discrimination Policy establishes procedures for reviewing,

investigating, and resolving formal complaints and outlines possible sanctions for policy

violations, see AC ¶ 41, while entrusting designated officials at Harvard’s individual schools to

determine whether disciplinary measures are warranted, Declaration of Felicia Ellsworth Ex. 1

(“Ellsworth Decl.”). The Statement on Rights and Responsibilities, which governs speech,

demonstrations, and on-campus protest activity, makes clear that threats of violence, personal

harassment, and hateful conduct under the guise of free speech violate University policy. See
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AC ¶ 44; Ellsworth Decl. Ex. 2. And as clarified by guidance released on January 19, 2024,

“demonstrations and protests are ordinarily not permitted” in certain spaces, such as libraries,

classrooms, dormitories, residence halls, and dining halls, where they would “interfere with the

normal activities of the University.” AC ¶ 45; Ellsworth Decl. Ex. 4. These University policies

are supplemented by school-specific guidelines, which state that discrimination, harassment, and

violence are “unacceptable” at Harvard. AC ¶ 42.

       Events since October 7 have revealed that Harvard’s commitment to combating

discrimination and harassment has not immunized the University from the rise of antisemitism

that has roiled campuses and communities across the country. Like other universities, Harvard

has experienced incidents of antisemitic vitriol and vandalism. AC ¶¶ 138, 141, 181, 211, 215.

And like many other schools, Harvard has seen passionate political debates lapse into offensive

rhetoric. Id. ¶¶ 129, 132, 134, 139. Fear, outrage, and grief following October 7 have unearthed

new tensions in communities across the country, including at Harvard. See id. ¶¶ 105, 107, 115,

131, 149, 196. Against the backdrop of this unprecedented moment on university campuses and

throughout the world, community members, including Plaintiffs, have criticized Harvard for not

acting more swiftly and forcefully to address rapidly unfolding events on campus in the

immediate aftermath of October 7. While Harvard is proud of the work it has done to support its

community members, the University’s initial response left some feeling unheard and

unprotected. Since those initial days, however, Harvard has engaged with its Jewish community

to address the challenges this turmoil has occasioned and, in some cases, laid bare.

       At the University level and in individual schools, Harvard has focused on providing

supportive measures, including care and support to victims of harassment, and on preventing

future incidents of harassment through education on protest and debate. Ellsworth Decl. Ex. 3;



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Declaration of Meredith Weenick ¶¶ 3-4 (“Weenick Decl.”). Harvard has undertaken extensive

efforts to increase on-campus security, Weenick Decl. ¶ 3, and published and adhered to clear

policies governing the conduct of on-campus events, including rallies and demonstrations, AC

¶ 45; Ellsworth Decl. Ex. 4. Harvard also has made available multiple avenues to report

harassment, bolstered resources for students making complaints, and redoubled its efforts to

process complaints and take any necessary disciplinary or remedial actions. Id. Ex. 3. And

when concerns about antisemitism have been raised by community members, Harvard has

responded. For example, when Harvard Hillel informed the University of antisemitic posts on

the messaging platform Sidechat (which Harvard does not control), Harvard quickly met with

Sidechat leadership and secured assurance from Sidechat to engage in 24/7 content moderation.

Weenick Decl. ¶ 5. And when student groups and a faculty and staff group shared an antisemitic

cartoon on social media, Interim President Garber swiftly issued a statement “unequivocally

condemning the posting and sharing of the cartoon” and the University initiated a review.

Ellsworth Decl. Ex. 6. Harvard also has repeatedly responded to concerns about antisemitism

raised by Kestenbaum, providing him opportunities to address his concerns with administrators

and directing him to supportive and remedial resources that remain available to him, should he

wish to access them. Declaration of Timothy Whelsky ¶¶ 4-14 (“Whelsky Decl.”).

       Harvard’s efforts have also extended beyond the important task of preventing and

responding to specific instances of harassment, to include structural initiatives to uncover and

eliminate antisemitism at Harvard. Ellsworth Decl. Ex. 5. The University is developing and

implementing educational and training opportunities for students, faculty, and staff that focus on

antisemitism both generally and at Harvard specifically. Id. Ex. 3; Weenick Decl. ¶ 6. Harvard

has continued to build upon and expand these efforts by launching a Presidential Task Force on



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Combating Antisemitism at the start of the spring semester with mandates to examine the recent

history and current manifestations of antisemitism on Harvard’s campus; identify the root causes

of, and contributing factors to, antisemitic behaviors; evaluate the evidence regarding the

characteristics and frequency of antisemitic incidents; and recommend approaches to combating

antisemitism and mitigating its impact on campus. Ellsworth Decl. Ex. 5. In carrying out these

duties, the Task Force has undertaken broad outreach to students, faculty, and staff to understand

the causes, forms, and effects of antisemitism on Harvard’s community, including by conducting

a series of listening sessions with members of the Harvard community. Ellsworth Decl. Ex. 8.

These crucial efforts are necessary, and they are not advanced by this lawsuit.

                                    STANDARD OF REVIEW

        On a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1), the Court may

“consider materials outside the pleadings.” Gonzalez v. United States, 284 F.3d 281 (1st Cir.

2002). In addition to “consider[ing] extrinsic materials,” the Court “is free to test the

truthfulness of the plaintiff’s allegations” when engaging in jurisdictional fact-finding. Dynamic

Image Techs., Inc. v. United States, 221 F.3d 34, 37 (1st Cir. 2000). Plaintiffs’ allegations

concerning the Court’s subject-matter jurisdiction may accordingly be challenged by competing

evidence. See Merlonghi v. United States, 620 F.3d 50, 54 (1st Cir. 2010).

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009). Plaintiffs must plead facts that permit the Court “to draw

[the] reasonable inference that the defendant is liable for the misconduct alleged.” Id. If the

Court cannot “infer from the well-pleaded facts ‘more than the possibility of misconduct,’ then

the complaint has not shown ‘that the pleader is entitled to relief.’” Justiniano v. Walker, 986

F.3d 11, 19 (1st Cir. 2021). The Court need not credit a “‘legal conclusion couched as a factual
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allegation.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Nor must it accept “bald

assertions” or “unsupportable conclusions.” Aulson v. Blanchard, 83 F.3d 1, 3 (1st Cir. 1996).

       Under Rule 12(f), the Court may strike requests for remedies to which plaintiffs are not

entitled. See John Hancock Life Ins. Co. v. Abbott Labs., Inc., 183 F. Supp. 3d 277, 303 (D.

Mass. 2016), aff’d in relevant part, 863 F.3d 23, 49 (1st Cir. 2017). Courts may strike such

“unnecessary pleadings” even without a showing of prejudice to the moving party. Sheffield v.

City of Bos., 319 F.R.D. 52, 55 (D. Mass. 2016).

                                          ARGUMENT

I.     PLAINTIFFS’ CHALLENGE TO HARVARD’S ONGOING RESPONSE TO ANTISEMITISM IS
       PREMATURE

       Plaintiffs’ claims should be dismissed under the ripeness doctrine, which ensures the

“avoidance of premature adjudication.” Abbott Labs. v. Gardner, 387 U.S. 136, 148 (1967).

Ripeness depends on “‘the fitness of the issues for judicial decision and the hardship to the

parties of withholding court consideration.’” Doe v. Bush, 323 F.3d 133, 138 (1st Cir. 2003)

(quoting Abbott Labs, 387 U.S. at 149). Both factors militate against considering Plaintiffs’

claims at this early stage of Harvard’s response.

       Plaintiffs’ claims rely on allegations that Harvard has not yet taken sufficient action to

respond to recent incidents that Plaintiffs allege were antisemitic. But almost all of the relevant

events Plaintiffs describe allegedly occurred within the past several months, see AC ¶¶ 1, 88, and

Harvard is still in the midst of investigations and proceedings related to incidents that took place

in the aftermath of the October 7 attack. Weenick Decl. ¶ 7. Harvard is enforcing its policies in

response to incidents on campus, and it is engaging directly with students—including

Kestenbaum—who raise concerns about antisemitism. Whelsky Decl. ¶¶ 4-14. And Harvard is

working with its Jewish community through the Task Force on Antisemitism to understand how


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community members are experiencing antisemitism and to determine how the University can

better combat antisemitism going forward. Ellsworth Decl. Ex. 5.

       Rather than allow Harvard to see this necessary work through, Plaintiffs ask this Court to

insert itself into Harvard’s response to antisemitism, including by appointing a monitor; firing

deans, faculty, and administrators; suspending and expelling students; and evaluating the fitness

of donations, class curricula, and course material. While Plaintiffs understandably want Harvard

to act on their preferred timeline and terms, Harvard’s work is—and must be—well-considered

and fair to all parties involved. Plaintiffs cannot predict the outcomes of Harvard’s ongoing

initiatives, investigations, or disciplinary proceedings, nor can they assert that the results of these

processes will be clearly unreasonable, without resorting to guesswork about “‘contingent future

events that may not occur as anticipated, or indeed may not occur at all.’” Reddy v. Foster, 845

F.3d 493, 500 (1st Cir. 2017) (quoting Texas v. United States, 523 U.S. 296, 300 (1998)).

Because “issuing opinions based on speculative facts or a hypothetical record is … at best

difficult and often impossible,” Plaintiffs cannot show that their claims are fit for resolution at

this juncture. See Ernst & Young v. Depositors Econ. Prot. Corp., 45 F.3d 530, 536 (1st Cir.

1995). Nor can Plaintiffs show that “withholding judgment will impose hardship,” because their

impatience with Harvard’s ongoing work does not present a “‘direct and immediate’ dilemma for

the parties.” McInnis-Misenor v. Maine Med. Ctr., 319 F.3d 63, 70 (1st Cir. 2003). By contrast,

Harvard will experience significant hardship if a federal court is brought in to “second-guess[]

the … decisions made by school administrators” as the University works in real time to address

the concerns Plaintiffs and others have raised. See Davis, 526 U.S. at 648. Because “delay may

see the dissipation of the legal dispute without need for decision,” “‘resolution of the dispute

should be postponed.’” See Mangual v. Rotger-Sabat, 317 F.3d 45, 59 (1st Cir. 2003).



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II.    PLAINTIFFS LACK STANDING UNDER RULE 12(B)(1)

       Standing requires that Plaintiffs “(1) suffered an injury in fact, (2) that is fairly traceable

to the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Standing must be

established for each claim Plaintiffs assert and each form of relief they seek. Webb v. Injured

Workers Pharmacy LLC, 72 F.4th 365, 372 (1st Cir. 2023) (citing Lujan v. Defenders of Wildlife,

504 U.S. 555, 561 (1992)). An association must establish that “‘its members would otherwise

have standing to sue in their own right’” and that “‘neither the claim asserted nor the relief

requested requires the participation of individual[] members in the lawsuit.’” New Hampshire

Motor Transp. Ass’n v. Rowe, 448 F.3d 66, 71 (1st Cir. 2006), aff’d, 552 U.S. 364 (2008).

       Here, neither Kestenbaum nor SAA can establish standing to seek prospective injunctive

relief. Relying on allegations of past harm and allegations involving other students not before

the Court, Plaintiffs have not shown that a future injury to themselves, traceable to Harvard, is

“certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (quoting

Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)). That is particularly apparent in the case of

Kestenbaum, whose claims for injunctive relief will become “inescapably moot” when he

graduates next month and ceases to be a Harvard student, as there will be “simply ‘no ongoing

conduct to enjoin’ presently affecting [him].” Harris v. University of Massachusetts Lowell, 43

F.4th 187, 192 (1st Cir. 2022); Whelsky Decl. ¶ 3. Nor have Plaintiffs plausibly alleged that any

injury they may suffer in the future likely would be redressed by the injunction they seek. SAA,

which alleges no injury of its own, also lacks standing to sue on behalf of its members.




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       A.      Plaintiffs Fail To Plead An Ongoing Or Certainly Impending Future Injury
               Traceable to Harvard’s Conduct

       To establish standing, Plaintiffs must plead injury-in-fact, meaning “an invasion of a

legally protected interest” that is “concrete and particularized” and “actual or imminent, not

conjectural or hypothetical.” Spokeo, 578 U.S. at 339 (quoting Lujan, 504 U.S. at 560). There

also must be “a causal connection between the injury and the conduct complained of,” such that

the injury is “fairly … trace[able] to the challenged action of the defendant, and not … th[e]

result [of] the independent action of some third party not before the court.” Lujan, 504 U.S. at

560. Plaintiffs fail to satisfy these required elements because they do not plausibly allege they

are likely to be injured by Harvard’s response to antisemitic harassment.

       First, Plaintiffs seek to establish an ongoing or future injury by criticizing Harvard’s

response to incidents that they do not allege they personally experienced, see, e.g., AC ¶¶ 105,

108, 114, 127, 131, 132, 134, 149, 152, 192, 198, 205, 206, 207, 215, 216, some of which

predate their arrival at Harvard, e.g., id. ¶¶ 61-69, 73-77. A great many of the incidents

alleged—for example, the hosting of speakers who had previously made controversial

statements, e.g., id. ¶ 140, 152, 183, or a community member’s inflammatory social media posts,

e.g., id. ¶ 136, 150, 175, 194, 213—are on their face not directed to any individual member of the

Harvard community, and unsurprisingly the Plaintiffs do not try to plead injury to any specific

person as a result. These alleged incidents, like those actually involving Plaintiffs, are of course

deeply concerning, and Harvard is addressing them as appropriate. But they do not plausibly

establish an injury-in-fact because they are not “particularized” to these Plaintiffs. Hochendoner

v. Genzyme Corp., 823 F.3d 724, 731 (1st Cir. 2016). Plaintiffs fail to put forward plausible

allegations of an ongoing or certainly impending future injury to them—including, in SAA’s

case, its members.


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       Second, the only personal injuries Plaintiffs identify are tied to past incidents of alleged

harassment and discrimination that cannot confer standing to seek prospective relief.

Specifically, Kestenbaum alleges that he attended events where speakers or protestors have made

comments he views as antisemitic, AC ¶¶ 78, 81, 82, 137—events he now avoids, id. ¶¶ 139,

196, 217. He also alleges that he was criticized and ostracized by peers on several occasions in

response to comments he has made. Id. ¶¶ 107-108, 140, 200, 203. And he alleges that he was

sent harassing emails and social media posts by a Harvard staff member, id. ¶¶ 185-189, who has

since been placed on leave, Weenick Decl. ¶ 8. SAA alleges that Members 1, 2, 3, and 5 were

studying in the Law School last October when protesters “marched down the length of the

building’s primary first-floor hallway” and “blocked the hallway outside the study room” where

they were hiding, “[f]earing a violent attack.” AC ¶ 109-110. Plaintiffs also allege that two

student groups engaged in a “takeover” of a Law School lounge last fall, during which students

engaged in “antisemitic agitation and anti-Israeli protests” and “regularly stopped and targeted”

SAA Members 1 and 2, see id. ¶ 118, who later “participated in a counter-protest” in the same

space, id. ¶ 121. Plaintiffs further allege that SAA Member 1 feared one of his Fall 2023

teaching assistants because of the TA’s conduct at the October 18 “die-in” protest, id. ¶ 145; that

SAA Member 5 attended an event that was “disrupted by anti-Israel students,” id. ¶ 218; and that

a protest involving “antisemitic messages” prevented SAA Members 1 and 5 from using a Law

School lounge, id. ¶ 224.

        Harvard has addressed, and will continue to address, incidents like these as appropriate

under its policies; but the “past injur[ies]” Plaintiffs allege “cannot support standing to seek an

injunction against future harm.” Roe v. Healey, 78 F.4th 11, 21 (1st Cir. 2023). “[A] person

exposed to a risk of future harm may pursue forward-looking, injunctive relief” only by



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establishing a “risk of harm [that] is sufficiently imminent and substantial.” TransUnion LLC v.

Ramirez, 594 U.S. 413, 435 (2021). To be sufficiently imminent, “the threatened injury must be

certainly impending.” Clapper, 568 U.S. at 410. Allegations of “‘possible future injury’” do not

suffice. Id. Instead, Plaintiffs must plead “a sufficient likelihood that [they] will again be

wronged in a similar way.” City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983).

       Plaintiffs do not face an ongoing or “certainly impending” future injury because, since

the explosive aftermath of Hamas’ October 7 terrorist attack—a time of intense turmoil in which

the alleged incidents Plaintiffs rely on unfolded, see AC ¶ 104—Harvard has taken tangible steps

to investigate and combat antisemitic conduct on campus. Harvard’s response to reports of

antisemitism, including messages on Sidechat and social media posts; its clarification of the

rights and responsibilities of students who wish to speak out about the Israel-Hamas war through

updated guidelines explaining the time, place, and manner limitations governing on-campus

protests; and the ongoing, comprehensive work of the Presidential Task Force on Combating

Antisemitism all refute Plaintiffs’ allegations that the incidents Plaintiffs describe or the

University responses they allege to be deficient are likely to repeat themselves. See supra pp.5-

6. “[S]ubjective apprehensions” of future harm do not establish legally cognizable injury—only

“the reality of the threat of repeated injury … is relevant to the standing inquiry.” Lyons, 461

U.S. at 107 n.8.

       Plaintiffs also have not plausibly alleged that any ongoing or certainly impending injury

they might suffer would be traceable to Harvard. See Clapper, 568 U.S. at 413. Traceability

requires a “sufficiently direct causal connection between the challenged action and the identified

harm.” Dantzler, Inc. v. Empresas Berrios Inventory & Ops., Inc., 958 F.3d 38, 47 (1st Cir.

2020). In this Title VI suit, Plaintiffs cannot establish an injury traceable to Harvard by simply



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alleging that they experienced antisemitic incidents, or even that they may experience such

incidents in the future; Plaintiffs must show that Harvard caused them injury through deliberate

indifference to those incidents. Plaintiffs attempt to portray the University’s response to

antisemitism as static. But their conclusory allegations that Harvard “will continue” to violate

their rights, see AC ¶ 275; id. ¶ 282, cannot be credited, particularly when the violation alleged

arises under a theory of “deliberate indifference.” Harvard has increased campus security and

police presence at locations and events where members of Harvard’s Jewish community gather,

Weenick Decl. ¶ 3; planned for new educational sessions on antisemitism for more than 200

faculty and administrators who may participate in disciplinary processes at each of Harvard’s

schools, id. ¶ 6; published new, specific guidance on permitted protest and dissent activities,

Ellsworth Decl. Ex. 4; clarified that violations of Harvard policies concerning protest and dissent

will be subject to appropriate process, id.; organized community support and listening sessions,

Ellsworth Decl. Exs. 3, 8; and established new initiatives to facilitate discussion and build

community through civil discourse and respectful debate, Weenick Decl. ¶ 4. The Presidential

Task Force on Combating Antisemitism has met with Jewish undergraduate and graduate

students, faculty, and staff, see supra p.7, and will provide recommendations to University

leadership “on a rolling basis” to allow Harvard to “consider, refine, and implement

interventions, and to keep the community apprised as our work together proceeds.” Ellsworth

Decl. Ex. 7.

       Simply put, Plaintiffs cannot show that Harvard’s ongoing response to antisemitic

incidents on campus is unchanged from its handling of events on campus in the immediate

aftermath of October 7—and certainly not that it is “deliberately indifferent.” Harvard has taken

concrete actions and made significant investments to show its commitment to responding



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meaningfully to antisemitic harassment—efforts that are not yet finished. These actions refute

any claim that Plaintiffs face a “certainly impending” injury traceable to Harvard. See Sumpter

v. Wayne Cnty., 868 F.3d 473, 491 (6th Cir. 2017) (holding that likelihood of future injury was

diminished and plaintiffs lacked standing due to policy change prohibiting challenged practices).

The “volume, frequency, type, and location” of alleged antisemitic conduct on campus, as well

as the “response by” Harvard officials, “have all changed in significant ways” since October 7.

See Index Newspapers LLC v. City of Portland, 2022 WL 4466881, at *6 (D. Ore. Sept. 26,

2022). Plaintiffs’ “claimed future injuries” thus are “too conjectural or hypothetical” to establish

standing. See id.

       B.      Plaintiffs’ Requested Injunction Is Unavailable As A Matter of Law

       Plaintiffs also lack standing to seek injunctive relief because they have not established a

“likelihood that the requested relief will redress the alleged injury.” Steel Co. v. Citizens for a

Better Envm’t., 523 U.S. 83, 103 (1998). To satisfy the redressability requirement, the

“requested relief” cannot be “an authority [the Court] do[es] not possess.” Western Coal Traffic

League v. Surface Transp. Bd., 998 F.3d 945, 951 (D.C. Cir. 2021). Nor can redressability be

established where the relief requested “would clearly do violence to the fundamental legislative

scheme, and is therefore a remedy that is unavailable.” See Biszko v. RIHT Fin. Corp., 758 F.2d

769, 774 (1st Cir. 1985). Here, Plaintiffs seek an injunction requiring Harvard to make

unspecified changes to its policies and practices to avoid penalizing Jewish students “in any

way,” to discipline or terminate students and faculty who engage in or permit alleged antisemitic

discrimination, to return donations purportedly conditioned on the promotion of antisemitic

professors or course materials, to institute antisemitism training, and to follow the direction of an

independent monitor overseeing Harvard’s compliance. AC, Prayer for Relief (A). Because this

vastly overbroad injunction is not authorized by law, Plaintiffs cannot establish redressability.
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       “A plaintiff’s remedy must be tailored to redress the plaintiff’s particular injury.” Gill v.

Whitford, 558 U.S. 48, 73 (2018). In other words, the relief sought must be “‘limited to the

inadequacy that produced [the] injury in fact.’” Id. at 66. Plaintiffs’ exceedingly overbroad

request to enjoin Harvard “from establishing, implementing, instituting, maintaining, or

executing policies, practices, procedures, or protocols that penalize or discriminate against

Jewish students, including plaintiffs and SAA’s members, in any way,” AC, Prayer for Relief

(A), flouts this fundamental principle. And the specific items of relief Plaintiffs request are

likewise “unavailable.” Biszko, 758 F.2d at 774. An injunction requiring Harvard to terminate,

suspend, discipline, or expel unspecified administrators, faculty, or students, see AC, Prayer for

Relief (A)(i)-(ii), would be improper under the Supreme Court’s decision in Davis. See infra

pp.27-28. Nor can Harvard be forced to “declin[e] and return[] donations … conditioned on the

hiring or promotion of professors who espouse antisemitism,” see AC, Prayer for Relief

(A)(iii)—an allegation lacking any factual support—without intruding on the University’s own

First Amendment rights, see Regents of Univ. of Mich. v. Ewing, 474 U.S. 214, 226 n.12 (1985).

Finally, “appointing a neutral expert monitor” to oversee Harvard’s compliance with a

hypothetical injunction, AC, Prayer for Relief (A)(v), is patently improper because Plaintiffs do

not plead that such an appointment is authorized by statute or extraordinary circumstances. See

Garcia Rubiera v. Fortuno, 727 F.3d 102, 114 (1st Cir. 2013).

       C.      SAA Lacks Standing

       Plaintiff SAA’s claims also should be dismissed because SAA—which does not allege its

own injury—lacks standing to sue on behalf of its members. An association has standing when

“neither the claim asserted nor the relief requested requires the participation of individual

members in the lawsuit.” Hunt v. Washington State Apple Advert. Comm’n, 432 U.S. 333, 343



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(1977). But such standing “is inappropriate if adjudicating the merits of an association’s claim

requires the court to engage in a ‘fact-intensive-individual inquiry.’” Rowe, 448 F.3d at 72.

       SAA’s Title VI and contract claims require the individualized participation of its

members. SAA’s Title VI claims rest on “the application of the law to a series of different

factual scenarios,” and thus depend on “‘the particularized circumstances of each individual

member.’” National Ass’n of Gov’t Emps. v. Mulligan, 914 F. Supp. 2d 10, 14 (D. Mass. 2012).

Courts have rejected associational standing for “claims of intentional discrimination” under Title

VI absent an explanation of how those claims “could be prosecuted without the participation of

the individual members.” Barnett v. Johnson City Sch. Dist., 2005 WL 8178066, at *5 n.6

(N.D.N.Y. Feb. 2, 2005). And Title VI hostile environment claims are necessarily individualized

because they require, among other plaintiff-specific showings, that the plaintiff herself

“subjectively perceive[d] the environment to be abusive.” See Brown v. Hot, Sexy & Safer

Prods., Inc., 68 F.3d 525, 540-541 (1st Cir. 1995), abrogated on other grounds by Martinez v.

Cui, 608 F.3d 54 (1st Cir. 2010). SAA similarly cannot sue on its members’ behalf under a

breach-of-contract theory as it lacks standing to seek damages on behalf of individual members,

Warth v. Seldin, 422 U.S. 490, 515-516 (1975), and determining the existence, scope, or breach

of any contract between Harvard and SAA members would involve a “‘fact-intensive-individual

inquiry’” that defeats associational standing. Rowe, 448 F.3d at 72.

III.   PLAINTIFFS’ TITLE VI CLAIM SHOULD BE DISMISSED UNDER RULE 12(B)(6)

       Title VI “prohibits only intentional discrimination.” Alexander v. Sandoval, 532 U.S.

275, 280 (2001). Intentional discrimination can be established by showing a school acted with

discriminatory animus, see Doe v. Brown Univ., 43 F.4th 195, 208 (1st Cir. 2022), or that the

school’s “deliberate indifference caused the student to be subjected to the harassment” alleged,



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see Fitzgerald v. Barnstable Sch. Comm., 504 F.3d 165, 171 (1st Cir. 2007), rev’d on other

grounds, 555 U.S. 246 (2009). Plaintiffs do not plead a Title VI violation under either theory.

       A.      Plaintiffs Do Not Plausibly Allege Discriminatory Animus

       Plaintiffs fail to plead discriminatory animus because they do not plausibly allege that

Harvard “acted with discriminatory intent” or a “racial motive.” Brown Univ., 43 F.4th at 208-

209. Instead, Plaintiffs’ allegations show that Harvard has stood steadfast by its Jewish

community and has condemned antisemitism promptly, forcefully, and repeatedly. See, e.g., AC

¶¶ 96, 99, 117, 127-128.

       Plaintiffs point to Harvard’s responses to various campus controversies and assert that

Harvard “selectively enforce[d] its own rules, deeming Jewish victims unworthy of the

protections it readily affords non-Jewish ones.” AC ¶ 38. To plead discrimination through

comparators, however, Plaintiffs must put forward two “reasonably comparable” incidents where

“the nature of the infraction and knowledge of the evidence by college officials [were]

sufficiently similar” to show that Harvard acted inconsistently. Brown Univ., 43 F.4th at 207.

They fail to do so. Instead, Plaintiffs make scattershot reference to past occasions on which

Harvard issued statements—as Plaintiffs acknowledge Harvard has done here, AC ¶¶ 96, 99,

117, 127-128—or canceled speaking events or disciplined students and faculty, id. ¶¶ 230, 234,

235, 238-241, 244-246. The strained comparisons Plaintiffs draw underscore the weakness of

their claimed double standard: in their view, Harvard’s decision to confront institutional racism

by “chang[ing] the title of ‘house masters’ to ‘faculty deans,’” id. ¶ 231, while declining to end

academic collaboration with Birzeit University, id. ¶ 235, shows Harvard only acts to “protect[]

minority groups other than Jews,” id. ¶ 231.

       Neither those allegations nor any others in the Amended Complaint come close to

showing that Harvard discriminates against Jewish students by allowing antisemitic conduct to
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go unaddressed while penalizing other forms of bias under comparable circumstances. See Doe

v. Amherst Coll., 238 F. Supp. 3d 195, 224 (D. Mass. 2017). None of the previous incidents

Plaintiffs cite involved the exceptional levels of internecine struggle that Harvard has sought to

navigate since October 7, with deep and acrid divisions between both students and faculty

members—leaving Harvard to address often competing claims of antisemitic and anti-Muslim

discrimination. Certainly, Plaintiffs’ allegations do not support the inference that “the only

possible explanation for the difference in outcomes” from prior instances is the invidious double

standard Plaintiffs claim. See Goodman v. Bowdoin Coll., 380 F.3d 33, 45 (1st Cir. 2004).

Plaintiffs’ allegations that Harvard has taken different approaches in response to dissimilar

events do not constitute “direct or circumstantial evidence of racial animus” toward them; they

therefore fail to plead a “necessary component” of their Title VI claim. Id. at 43.

       B.      Plaintiffs Do Not Plausibly Allege That Harvard Subjected Them To A
               Hostile Educational Environment Through Deliberate Indifference

       Plaintiffs also fail to plausibly allege that Harvard violated Title VI by acting with

“deliberate indifference” to antisemitic conduct “so severe, pervasive, and objectively offensive”

that it “ha[s] the systemic effect of denying the victim equal access to an educational program or

activity.” Davis, 526 U.S. at 651-652. The same deliberate-indifference standard applies in both

Title VI and Title IX cases. See Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 286

(1998); Pollard v. Georgetown Sch. Dist., 132 F. Supp. 3d 208, 230 (D. Mass. 2015). Under this

standard, universities can be held liable “only where their own deliberate indifference effectively

‘cause[d]’ the discrimination.” Davis, 526 U.S. at 642-643. Deliberate-indifference plaintiffs

must therefore overcome a “high” bar. Doe v. Wentworth Inst. of Tech., Inc., 2022 WL 1912883,

at *6 (D. Mass. June 3, 2022). They must plead that the university’s response to “severe,

pervasive, and objectively offensive” harassment was “clearly unreasonable in light of the


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known circumstances.” Porto v. Town of Tewksbury, 488 F.3d 67, 72-73 (1st Cir. 2007).

Allegations that the university “could or should have done more” are insufficient. Id. at 73.

       Plaintiffs fall far short of that bar. Stripped of its allegations involving First-Amendment-

protected expression concerning rallies, statements, speaker invitations, and academic decisions,

the Amended Complaint is left with a handful of alleged antisemitic incidents. Those incidents

are insufficient to plausibly allege that Harvard’s ongoing response has been “clearly

unreasonable.” Davis, 526 U.S. at 648. That alone forecloses Plaintiffs’ deliberate-indifference

claim. And while the offensive remarks and disruptive actions Plaintiffs describe are contrary to

Harvard’s “dual commitment to free expression and mutual respect,” Ellsworth Decl. Ex. 4—

they do not amount to “severe, pervasive, and objectively offensive” harassment under Title VI.

Davis, 526 U.S. at 651.

               1.     Plaintiffs do not plausibly allege that Harvard’s response to the alleged
                      harassment was “clearly unreasonable”

       Plaintiffs’ allegations of deliberate indifference fail because they do not establish that

Harvard’s response has been “clearly unreasonable in light of the known circumstances.” Davis,

526 U.S. at 648. Plaintiffs cannot plead deliberate indifference merely by alleging that Harvard

declined to restrict speech that they oppose. But Plaintiffs do precisely that—they repeatedly

allege that Harvard should have prevented or punished rallies, boycotts, and protests, see AC

¶¶ 58, 61, 64, 73-77, 79-81, 93, 105, 107, 109, 114-115, 118-122, 126, 129, 131, 132, 134-135,

137, 139, 196, 204, 207, 217, 218, 221, 224, and statements by students or faculty that Plaintiffs

found offensive, id. ¶¶ 66, 94, 101, 136, 150-151, 153, 175-176, 198, 209. They assert that

Harvard should have intervened to stop student groups or faculty members from inviting

controversial speakers to campus. See id. ¶¶ 62, 65, 69, 78, 82, 140, 152, 183-184, 190, 192,

195, 205, 216, 223, 226. And they claim that Harvard should have taken action with respect to,


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or overruled, academic decisions by university professors, including the assignment of particular

reading materials. See id. ¶¶ 70-71, 145, 146-149. But however ill-considered or offensive one

might find the views expressed on these occasions, settled free speech principles allow Harvard

to determine that it may not be appropriate to discipline or otherwise coerce members of the

University community, toward shielding Plaintiffs from exposure to speech that offended them.

       That is because Harvard does not have a duty under Title VI to censor student or faculty

speech protected by the First Amendment. Public universities of course may not infringe upon

the First Amendment rights of faculty, students, and staff. See Healy v. James, 408 U.S. 169,

180-181 (1972). Accordingly, Davis must be read to impose liability on universities—public or

private—only when consistent with constitutionally protected expression. See Speech First, Inc.

v. Fenves, 979 F.3d 319, 337 n.16 (5th Cir. 2020). The Department of Education has, moreover,

made clear that private universities are not required by Title VI to punish protected expression:

“Any private post-secondary institution that chooses to limit free speech in ways that are more

restrictive than at public educational institutions does so on its own accord and not based on

requirements imposed by” the Department. Gerald A. Reynolds, Assistant Sec’y, Off. for Civ.

Rts., U.S. Dep’t of Educ., Dear Colleague Letter (July 28, 2003). Indeed, because Plaintiffs seek

to hold Harvard liable for a hostile learning environment allegedly created in large part by

students engaged in protected speech, their Title VI claims have “serious First Amendment

implications.” Guckenberger v. Boston Univ., 957 F. Supp. 306, 316 (D. Mass. 1997).

Allegations based on remarks by professors or administrators similarly seek to force Harvard to

take action that could have a “chilling effect ... on academic freedom,” leading faculty to “avoid

topics … for fear that one or two sentences might later be used as evidence of alleged

discriminatory animus.” Brown v. Trustees of Bos. Univ., 891 F.2d 337, 351 (1st Cir. 1989).



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       “[S]peech that can be reasonably interpreted as political,” such as most of the speech

Plaintiffs point to throughout their Amended Complaint, “is protected in schools.” Norris on

behalf of A.M. v. Cape Elizabeth Sch. Dist., 969 F.3d 12, 23 (1st Cir. 2020). Plaintiffs urge the

Court to adopt a rigid and capricious definition of unprotected antisemitic speech—and to hold

Harvard liable for declining to discipline any expression that the Plaintiffs believe crosses this

line. AC ¶¶ 25-27, 32-33. But the Court should not second-guess decisions Harvard may make

to refrain from punishing student and faculty speech. On the contrary, “school administrators

must be permitted to exercise discretion in determining when certain speech crosses the line from

merely offensive to more severe or pervasive bullying or harassment.” Norris, 969 F.3d at 29

n.18. Here, as in other cases dismissing deliberate indifference claims alleging flawed responses

to antisemitism, “a very substantial portion of the conduct to which plaintiffs object represents

pure political speech and expressive conduct.” See Felber v. Yudof, 851 F. Supp. 2d 1182, 1187-

1188 (N.D. Cal. 2011). Because Title VI does not require Harvard to punish such speech,

Harvard’s response is “not ‘clearly unreasonable’ as a matter of law.” Davis, 526 U.S. at 649.

       The Amended Complaint confirms that Harvard did respond to many of the incidents

with which Plaintiffs find fault. In paragraph after paragraph, Plaintiffs acknowledge that

Harvard officials reacted by condemning antisemitic conduct, listening to student concerns,

offering supportive resources, enforcing policies, launching investigations and disciplinary

proceedings where appropriate, and making long-term commitments to addressing antisemitism.

See, e.g., AC ¶¶ 68, 70, 84-87, 96, 97, 99, 101, 117, 120, 124, 127-128, 147, 177, 195, 217, 225.

For example, Plaintiffs acknowledge that allegations that a professor at the Kennedy School

discriminated against Jewish students in class resulted in Harvard initiating a formal

investigation, led by outside counsel, into the allegations, and issuing a report censuring that



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professor. See id. ¶¶ 84-87. And Plaintiffs describe how, in the immediate aftermath of the

October 7 terrorist attacks, Harvard issued multiple statements condemning Hamas’ attacks,

expressing support for Jewish students, and making clear that student groups assigning blame to

Israel spoke only for themselves and not for the institution. See id. ¶¶ 94-99. While Plaintiffs

obviously believe that actions taken by Harvard did not “constitute[] an ideal response” to

antisemitism on campus, what Harvard said and did “cannot plausibly be characterized” as “so

deficient as to be clearly unreasonable.” See Fitzgerald, 504 F.3d at 174.

       Plaintiffs also do not plausibly allege that Harvard’s response to any of the incidents

involving Plaintiffs was “clearly unreasonable” as required by established case law. As

explained, many of these allegations involve protected expression that Harvard may reasonably

conclude is protected speech. E.g., AC ¶¶ 78, 81, 82, 107, 109, 137, 140, 203, 218. Plaintiffs

assert that when Kestenbaum was removed from a WhatsApp group created by Divinity School

students in February 2024, Harvard did not “provide[] a … substantive response” to his

complaint, id. ¶ 201—but they nowhere allege that Harvard controlled access to the group or had

authority to reinstate his access, or that its reaction was clearly unreasonable. The same is true of

the disturbing allegations that a Harvard employee sent Kestenbaum harassing messages;

Plaintiffs allege only that the individual, who was promptly placed on leave, was not summarily

fired, which does not support the inference that Harvard responded unreasonably at the time or

that it is not taking additional steps, through its established processes, to address the matter

further. Id. ¶¶ 185-189. Plaintiffs further acknowledge that several University officials spoke to

them about their concerns after the October 19 protest in the Law School. Id. ¶¶ 112-113. And

Plaintiffs admit that Harvard safety officials investigated an alleged incident in which flyers

hung by the Alliance for Israel student group were removed. Id. ¶ 124. As for the announced



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lounge “takeover” in Fall 2023, Plaintiffs acknowledge that University officials intervened and

took measures to address Plaintiffs’ concerns, id. ¶¶ 118, 120-121, and nowhere assert that the

lounge—where some Plaintiffs even participated in their own counter-protest, id. ¶ 121—was not

accessible to everyone even during those brief times when individuals leafleted or protested.

While Plaintiffs do not allege that they attended the October 18 “die-in” protest, they do allege

that Harvard relieved one of the protestors involved in confronting a Jewish student there from

his role as a residential proctor, id. ¶ 108, and announced that it would let the law enforcement

investigation into the incident finish before taking disciplinary measures, id. ¶ 127.

       Although Harvard is committed resolutely to the elimination of antisemitism at the

University, Title VI does not require that Harvard “‘ensur[e] that … students conform their

conduct’ to certain rules.” See Davis, 526 U.S. at 648. Nor does the statute require that Harvard

“take heroic measures” or “perform flawless investigations.” See Fitzgerald, 504 F.3d at 174.

Insistence that Harvard “could or should have done more” to address Plaintiffs’ concerns does

not state a deliberate-indifference claim. Porto, 488 F.3d at 73.

               2.      Plaintiffs do not plausibly allege that they were subject to severe and
                       pervasive harassment

       Plaintiffs also fail to plausibly allege severe and pervasive harassment. Certainly, the

Amended Complaint alleges incidents that impair, rather than advance, informed dialogue and

the interchange of ideas and opinions about October 7 and its aftermath. But because schools

must have flexibility to address on-campus conduct in a manner consistent with their obligations

to all community members—including their obligation to safeguard protected expression—a

Title VI claim “will lie only for harassment that is so severe, pervasive, and objectively offensive

that it effectively bars the victim’s access to an educational opportunity or benefit.” Davis, 526

U.S. at 633. Plaintiffs’ factual allegations “do not meet the high standard of severity or


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pervasiveness” required to trigger liability for deliberate indifference under Title VI. Pollard,

132 F. Supp. 3d at 230-231.

       Harvard in no way condones such conduct, but in the absence of “physically threatening

or humiliating” speech, Plaintiffs’ exposure to “offensive utterance[s]” does not create a hostile

environment. Brown, 68 F.3d at 540. That is particularly so when the comments were not

directed at or to any Plaintiff or made within the context of any program or activity in which

Plaintiffs were participating, id. at 541 (comments “were not directed specifically at the

plaintiffs”); see also Guckenberger v. Boston Univ., 957 F. Supp. 306, 315 (D. Mass. 1997)

(statements critical of disability-rights movement did not create hostile environment when they

were “not focused on or addressed to particular … students”). Likewise, Plaintiffs’ allegations

involving “acts occurring years before [they] ever enrolled” at Harvard have at most “extremely

marginal relevance to Plaintiffs’ contention that they perceived a hostile environment.” See

Felber, 851 F. Supp. 2d at 1188.

       Nor do Plaintiffs’ allegations that they subjectively feared physical violence rise to the

level of severity and pervasiveness that Title VI requires. Plaintiffs allege that they “[f]ear[ed] a

violent attack” during an incident in which protestors holding a “Stop the Genocide in Gaza”

banner entered a Law School building and “marched down the length of the building’s primary

first-floor hallway,” blocking “the hallway outside the study room” where they were located.

AC ¶ 110. But Plaintiffs do not allege that the protesters engaged with Plaintiffs in any way—let

alone threatened physical violence—or that police or security personnel were not on scene.

Courts have indicated that similar protest activity does not constitute severe and pervasive

harassment. See Mandel v. Board of Trustees of Cal. State Univ., 2018 WL 5458739, at *21

(N.D. Cal. Oct. 29, 2018); Felber, 851 F. Supp. 2d at 1184-1185. While Plaintiffs identify one



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instance in which Kestenbaum was sent allegedly harassing messages (from an employee

promptly placed on leave) that left him “concerned about his physical safety,” AC ¶¶ 185, 189, a

“single incident of harassment” may be actionable only when it has “produce[d] a ‘systemic

effect on educational programs or activities.’” Fitzgerald, 504 F.3d at 173 n.3; see Davis, 526

U.S. at 652-653; Pollard, 132 F. Supp. at 230. Plaintiffs do not plausibly allege such an effect.

IV.    THE COURT SHOULD STRIKE PLAINTIFFS’ REQUESTED INJUNCTION AND DEMAND FOR
       PUNITIVE DAMAGES UNDER RULE 12(F)

       Even if the Court determines that Plaintiffs have standing to seek prospective injunctive

relief, it should strike their requested injunction and their claim for punitive damages under Rule

12(f) because they cannot establish that they are entitled to such remedies. Courts use Rule 12(f)

to strike requests for remedies to which the Plaintiffs are not entitled, John Hancock Life Ins.,

183 F. Supp. 3d at 303, and may strike such “unnecessary pleadings” even without a showing of

prejudice to the moving party, Sheffield v. City of Bos., 319 F.R.D. 52, 55 (D. Mass. 2016); see

Zurich Am. Ins. Co. v. Watts Regul. Co., 796 F. Supp. 2d 240, 246 (D. Mass. 2011).

       Plaintiffs’ requested injunction should be stricken for several reasons. First, it is fatally

overbroad. It would apply without limit to any policy, procedure, or practice, wresting from

Harvard control over core academic, employment, and student-life decisions central to Harvard’s

self-governance. An injunction of that scope would violate the black-letter principle that

“injunctive relief should be no more burdensome to the defendant than necessary to provide

complete relief to the plaintiffs.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979). The same is

true of the request that the Court “appoint[] a neutral expert monitor” to superintend Harvard’s

university-wide response to antisemitism, AC, Prayer for Relief (A)(v)—a measure that may

only be justified under narrow circumstances not alleged here. See Fortuno, 727 F.3d at 114.




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       Next, the requested relief is “tantamount to an injunction to ‘obey the statute,’ which the

Supreme Court [has] rejected as too broad.” Trustees of Bos. Univ., 891 F.2d at 361. Plaintiffs

seek to enjoin “Harvard and its agents from establishing, implementing, instituting, maintaining,

or executing policies, practices, procedures, or protocols that penalize or discriminate against

Jewish students, including plaintiffs and SAA’s members, in any way.” AC, Prayer for Relief

(A). But precisely because an injunction “should be narrowly tailored to give only the relief to

which plaintiffs are entitled,” an injunction that broadly enjoins Harvard “from discrimination”

“has the potential to further embroil the courts in the University’s internal affairs.” See Trustees

of Bos. Univ., 891 F.2d at 361. Because the requested injunction is “overly broad” and

“essentially command[s]” Harvard to “obey the law concerning … discrimination,” it should be

struck. EEOC v. Aviation Port Servs., LLC, 2020 WL 1550564, at *12 (D. Mass. Apr. 1, 2020).

       Third, Plaintiffs’ request that the Court require Harvard to take particular remedial

measures should be struck because such relief is barred unequivocally by the Supreme Court’s

holding in Davis. Plaintiffs seek, among other far-reaching remedies, to compel Harvard to

“take all necessary, adequate, and appropriate remedial, corrective, and preventative measures”

including terminating deans and professors, suspending or expelling students, and declining or

returning donations. AC, Prayer for Relief (A). But Title VI does not require that

“administrators must engage in particular disciplinary action” to avoid liability. See Davis, 526

U.S. at 648. Victims of harassment therefore have no Title VI “right to make particular remedial

demands.” Id.; accord Roe v. Lincoln-Sudbury Reg’l Sch. Dist., 2021 WL 1132256, at *27 (D.

Mass. Mar. 24, 2021) (“[A] plaintiff does not have the right to make particular remedial

demands, and courts ‘should refrain from second-guessing’ the decisions of school

administrators when assessing their responses.”). And in evaluating contract claims, “‘courts are



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chary about interfering with academic and disciplinary decisions made by private colleges and

universities.’” Doe v. Trustees of Bos. Coll., 942 F.3d 527, 535 (1st Cir. 2019).

       Lastly, the Court should strike Plaintiffs’ request for punitive damages, which are not

available under Title VI, Barnes v. Gorman, 536 U.S. 181, 189 (2002), or Massachusetts contract

law, DeRose v. Putnam Management Co., 496 N.E.2d 428, 432 (Mass. 1986).

V.     PLAINTIFFS’ CONTRACT CLAIMS SHOULD BE DISMISSED UNDER RULE 12(B)(6)

       A.      Plaintiffs Do Not Plausibly Allege A Breach Of Contract

       Plaintiffs fail to plead a breach of contract because they do not plausibly allege either that

any policy they cite created an enforceable contract between them and Harvard or that Harvard

“breached [their] reasonable expectations based on the explicit and implicit promises in the

contract” that those policies purportedly created. Sonoiki v. Harvard Univ., 37 F.4th 691, 713

(1st Cir. 2022). A student’s “reasonable expectations” must be tethered to the “express terms of

the contract” with the university. Id. at 709. To plead a breach, Plaintiffs are required to identify

“definite and certain promises about the university’s environment or services” that Harvard has

broken. Brown v. Suffolk Univ., 2021 WL 2785047, at *6 (D. Mass. Mar. 31, 2021).

       Rather than plead that Harvard breached any express contractual commitment, Plaintiffs

assert in conclusory fashion that Harvard failed to “provide them a discrimination-free

environment” by “abiding by, and adequately and appropriately enforcing” its policies. AC

¶ 280. They block-quote a number of Harvard policies without alleging that any particular

policy provision required Harvard to act in any particular circumstance. See id. ¶ 282. Some of

the policies cited are not even alleged to apply to Plaintiffs or any specific incidents they

describe. As to the policies that may apply to Plaintiffs, many of the quoted provisions point to

“generalized, aspirational statements that are insufficiently definite” to establish a breach of an

enforceable term. G. v. Fay Sch., 931 F.3d 1, 12 (1st Cir. 2019); see AC ¶ 282. Even where

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Plaintiffs allege that Harvard policies prohibit specific actions, they do not plead that these

policies bind the University to respond within a certain timeframe or adopt particular disciplinary

measures in response to the incidents they allege. The Statement on Rights and Responsibilities,

for instance, provides that interference with another community member’s activities will subject

a student to “appropriate discipline”—not to any predetermined penalty. AC ¶ 182. Elsewhere,

Plaintiffs do not plead that Harvard defied their reasonable expectations in handling alleged

policy violations, but rather that the University did not provide them regular updates on reports

of misconduct referred for investigation. See id. ¶ 218.

       The Amended Complaint does not contain the type of allegations that have been held to

establish breach, such as failing to follow a set of guaranteed procedural rights, Doe v. Trustees

of Bos. Coll., 892 F.3d 67, 80-87 (1st Cir. 2018), or neglecting to deliver educational offerings

expressly promised, Guckenberger, 957 F. Supp. at 317. Plaintiffs instead assert that Harvard

failed to mete out unspecified discipline to certain students and faculty. Transforming general

university policies into enforceable promises to take particular disciplinary measures would rob

schools of discretion on matters of discipline and seriously undermine their right to “autonomous

decisionmaking.” See Ewing, 474 U.S. at 226 n.12. For that reason, courts hesitate to

“‘interfer[e] with academic and disciplinary decisions made by private colleges and

universities,’” which require “flexibility to adopt diverse approaches to student discipline

matters.” Trustees of Bos. Coll., 942 F.3d at 535. Plaintiffs’ breach of contract claim should be

dismissed.

       B.      Plaintiffs’ Implied Covenant Claim Should Be Dismissed As Duplicative

       Plaintiffs’ claim for breach of the implied covenant of good faith and fair dealing must be

dismissed for the additional reason that Plaintiffs “do[] not identify a distinct basis for this

claim,” and it is duplicative of their breach of contract and Title VI claims. See Doe v. Stonehill
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College, Inc., 55 F.4th 302, 337-338 (1st Cir. 2022); see also Doe v. Clark Univ., 624 F. Supp.

3d 1, 9 (D. Mass. 2022) (“In the Title IX context, the analysis for a claim of breach of the

covenant of good faith and fair dealing is ‘essentially identical’ to the analysis for a claim of

breach of contract.”). A claim for breach of the covenant of good faith and fair dealing cannot

go forward where other contract claims based on the same facts have failed because the covenant

does not “create rights and duties not otherwise provided for in the existing contractual

relationship.” Uno Restaurants, Inc. v. Boston Kenmore Realty Corp., 805 N.E.2d 957, 964

(Mass. 2004). Just as they do for their Title VI and breach of contract claim, Plaintiffs baldly

assert that Harvard “selectively applies” its policies in a manner motivated by discrimination

without alleging how specific policies have been applied in a purportedly selective way. AC ¶

285. As such, Plaintiffs’ implied covenant claim should be dismissed.

                                          CONCLUSION

       The Court should dismiss Plaintiffs’ Amended Complaint with prejudice.




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DATED: April 12, 2024

                                   Respectfully Submitted,

                                   PRESIDENT AND FELLOWS OF HARVARD
                                   COLLEGE


                                   By its attorneys,


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